                  Case 2:90-cv-00520-KJM-SCR Document 8426 Filed 10/10/24 Page 1 of 1


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             10                                 UNITED STATES DISTRICT COURT

             11                                EASTERN DISTRICT OF CALIFORNIA

             12                                     SACRAMENTO DIVISION

             13
                  RALPH COLEMAN, et al.,                             Case No. 2:90-CV-00520- KJM-DB
             14
                                 Plaintiffs,                         ORDER
             15
                         v.
             16                                                      Judge:       Hon. Kimberly J. Mueller
                  GAVIN NEWSOM, et al.
             17
                                 Defendants.
             18
             19
                         On October 9, 2024, Defendants filed an ex parte request to seal the Second Golding
             20
                  Report that that was filed on October 8, 2024, at ECF No. 8421.
             21
                         Good cause appearing, Defendants’ request to seal the filed document is granted, and the
             22
                  clerk is directed to seal the document filed at ECF No. 8421.
             23
                         IT IS SO ORDERED.
             24
                  DATED: October 10, 2024


             25




18995858.1                                                ORDER
